     Case: 3:14-cr-00403-JGC Doc #: 219 Filed: 10/27/16 1 of 1. PageID #: 1620
                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
                               WESTERN DIVISION

United States of America,                                      Case No. 3:14CR403

                   Plaintiff,                                    ORDER


                  v.

 Susan Pioch, et al.,

                Defendant.

          Pending is the government’s motion in limine to allow testimony by persons who, the

government anticipates, will relate statements that Martin Fewlas made about defendant Kurt

Mallory. (Doc. 180). The statements will, according to the government, exhibit Fewlas’s animosity

toward and fear of Kurt Mallory. Fewlas’s antagonism toward Mallory is relevant to the issue of

whether he would have left his substantial estate to Mallory, or, as the indictment alleges, the

defendants, including Mallory, engaged in a conspiracy, via a forged will, to obtain the estate’s

assets.

          Only defendant Pioch has responded to the government’s motion. (Doc. 183). She has no

objection to the admission of the statements, provided she can offer similar testimony about Fewlas’s

intentions vis-a-vis disposition of his estate.

          Sauce for the goose; sauce for the gander. It is hereby,

          ORDERED THAT the government’s motion to admit statements of Martin Fewlas (Doc.

180) be, and the same hereby is, granted.

          So ordered.
                                                                 /s/ James G. Carr
                                                                 Sr. U.S. District Judge
